Case 2:18-ap-01235-VZ   Doc 163 Filed 04/15/22 Entered 04/15/22 14:33:03   Desc
                         Main Document     Page 1 of 3
Case 2:18-ap-01235-VZ   Doc 163 Filed 04/15/22 Entered 04/15/22 14:33:03   Desc
                         Main Document     Page 2 of 3
                                                                   Case 2:18-ap-01235-VZ            Doc 163 Filed 04/15/22 Entered 04/15/22 14:33:03                      Desc
                                                                                                     Main Document     Page 3 of 3


                                                                   1                                   PROOF OF SERVICE OF DOCUMENT

                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3                  10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

                                                                   4   A true and correct copy of the foregoing document entitled (specify): DECLARATION OF JEFFREY P. NOLAN
                                                                       IN SUPPORT OF MOTION AND REQUEST FOR CONTINUANCE OF HEARING ON THE MOTION OF
                                                                   5   PACHULSKI STANG ZIEHL & JONES LLP FOR ORDER PERMITTING WITHDRAWAL AS COUNSEL will be
                                                                       served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
                                                                   6   in the manner stated below:

                                                                   7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
                                                                       General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                                                                   8   document. On (date) April 15, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                       proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
                                                                   9   transmission at the email addresses stated below:

                                                                  10          Brad D Krasnoff (TR) BDKTrustee@DanningGill.com,
                                                                               bkrasnoff@ecf.axosfs.com;DanningGill@gmail.com
                                                                  11          Jeffrey P Nolan jnolan@pszjlaw.com
                                                                           
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                               Jon N Owens nathan.owens@ndlf.com, sue.peterson@ndlf.com
                                                                  12          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                        LOS ANGELES, CALIFORNIA




                                                                                                                                 Service information continued on attached page
                                                                  13
                                           ATTORNEYS AT LAW




                                                                       2. SERVED BY UNITED STATES MAIL:
                                                                  14   On (date) April 15, 2022, I served the following persons and/or entities at the last known addresses in this
                                                                       bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
                                                                  15   the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
                                                                       constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
                                                                  16   is filed.
                                                                  17   Shaman Bakshi
                                                                       710 N. El Centro Avenue, #303
                                                                  18   Los Angeles, CA 90038                                     Service information continued on attached page

                                                                  19   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                       (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                  20   April 15, 2022, I served the following persons and/or entities by personal delivery, overnight mail service, or
                                                                       (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                  21   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                       judge will be completed no later than 24 hours after the document is filed.
                                                                  22
                                                                        Via Email                                               Via Federal Express
                                                                  23    shaman.bakshi@gmail.com                                 Honorable Vincent Zurzolo
                                                                                                                                United States Bankruptcy Court
                                                                  24                                                            255 E. Temple Street
                                                                                                                                Suite 1360/Courtroom 1368
                                                                  25                                                            Los Angeles, CA 90012

                                                                  26                                                             Service information continued on attached page

                                                                  27   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

                                                                  28     April 15, 2022                     Rolanda Mori                       /s/ Rolanda Mori
                                                                         Date                       Printed Name                               Signature

                                                                       DOCS_LA:343337.1 07977/001
